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                 IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF NORTH DAKOTA
 IN RE:

  VANITY SHOP OF GRAND FORKS, INC.                §                 CASE NO. 17-30112
                                                  §                       (Chapter 11)

   NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
         Please take notice that pursuant to § 1109(b) of the United States Bankruptcy Code,
 if applicable, and Rules 2002 and 9010(b) of the Bankruptcy Rules, the undersigned
 counsel requests that all notices given or required to be given in this case and all other
 pleadings and notices of all matters of which notice is required or permitted to be given
 under the Bankruptcy Code, Bankruptcy Rules and Local Bankruptcy Rules with respect
 to the administration of this case be given to and served upon the following:
       LUBBOCK CENTRAL APPRAISAL DISTRICT
                       c/o LAURA J. MONROE
                       Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
                       P.O. Box 817
                       LUBBOCK, TX 79408
                       (806) 744-5091
                       (806) 744-9953 FAX
                       lmbkr@pbfcm.com
         Please take further notice that pursuant to § 1109(b) of the United States
 Bankruptcy Code, if applicable, the foregoing request includes the notices and papers
 referred to in Rule 2002 of the Bankruptcy Rules and also includes, without limitation, any
 plan of reorganization and objections thereto, notices of any orders, pleading, motions,
 applications, complaints, demands, hearings, requests or petitions, disclosure statements,
 answering or reply papers, memoranda and briefs in support of any of the foregoing and
 any other document brought before this Court with respect to these proceedings, whether
 formal or informal, whether written or oral, and whether transmitted or conveyed by mail,
 delivery, telephone, telegraph, telex or otherwise.


                                                      Respectfully Submitted,
                                                      PERDUE, BRANDON, FIELDER,
                                                      COLLINS & MOTT, L.L.P.
                                                      P.O. Box 817
                                                      LUBBOCK, TX 79408
                                                      (806) 744-5091
                                                      (806) 744-9953
                                                      Attorney for Claimants

                                                      By:   /s/LAURA J. MONROE
                                                         LAURA J. MONROE
                                                         Bar No: 14272300


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                              CERTIFICATE OF SERVICE

 I LAURA J. MONROE do hereby certify that a true and correct copy of the above NOTICE
 OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS, has been served upon
 the parties listed on the Court’s ECF transmission list in this case via ECF e-notice, fax or
 U.S. mail, on this 17th day of March, 2017.



                                                        /s LAURA J. MONROE
                                                        LAURA J. MONROE
                                                        Bar No: 14272300




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